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Official Form 1, Exhibit D (10/06)

                                  UNITED STATES BANKRUPTCY COURT
                                           District of New Hampshire


         In re:   Kurt Sanborn                                                      Case No.
                      Debtor                                                                                   (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 15 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Must be
accompanied by a motion for determination by the court.] [Summarize exigent circumstances here.]

                                                                                                                             .


         If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file your
bankruptcy case and promptly file a certificate from the agency that provided the briefing, together with a
copy of any debt management plan developed through the agency. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the
court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.
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             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

        I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Kurt Sanborn
                     Kurt Sanborn

Date: 4/20/2007
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Official Form 7
(04/07)
                                                  UNITED STATES BANKRUPTCY COURT
                                                       District of New Hampshire

In re:   Kurt Sanborn                                                                         Case No.
                                                                           ,
                                                       Debtor                                                    (If known)




                                          STATEMENT OF FINANCIAL AFFAIRS

          1. Income from employment or operation of business
None

          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
          the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
          two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
          the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
          of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
          under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
          spouses are separated and a joint petition is not filed.)

          AMOUNT                           SOURCE                                         FISCAL YEAR PERIOD


          2. Income other than from employment or operation of business
None      State the amount of income received by the debtor other than from employment, trade,
          profession, or operation of the debtor's business during the two years immediately preceding the
          commencement of this case. Give particulars. If a joint petition is filed, state income for each
          spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
          each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)

          AMOUNT                             SOURCE                                                               FISCAL YEAR PERIOD

          36,000.00                          Parents                                                              2006
          12,000.00                          Parents                                                              2007

          3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None


          a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement
          of this case if the aggregate value of all property that constitutes or is affected by such transfer is not less that
          $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
          obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
          creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either
          or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
          filed.)
                                                                DATES OF                            AMOUNT                AMOUNT
          NAME AND ADDRESS OF CREDITOR                          PAYMENTS                            PAID                  STILL OWING
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                                                                                                                                   2

None

       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within
       90 days immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is
       affected by such transfer is not less than $5,475. (Married debtors filing under chapter 12 or chapter 13 must include
       payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)
                                                                                              AMOUNT
                                                       DATES OF                               PAID OR               AMOUNT
                                                       PAYMENTS/                              VALUE OF              STILL
       NAME AND ADDRESS OF CREDITOR                    TRANSFERS                              TRANSFERS             OWING

       Chase Auto Finance                                monthly                               303.00              8,000.00
       PO Box 260161
       Baton Rouge, LA 70826
       Triad Financial Corp                              monthly                               370.00              12,000.00
       PO Box 3299
       Huntington Beach, CA 92605

None

       c. All debtors: List all payments made within one year immediately preceding the commencement of this case
       to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
       include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
       a joint petition is not filed.)

       NAME AND ADDRESS OF CREDITOR                    DATES OF                                                     AMOUNT
       AND RELATIONSHIP TO DEBTOR                      PAYMENTS                               AMOUNT PAID           STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year
       immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or
       chapter 13 must include information concerning either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)
       CAPTION OF SUIT                                                       COURT OR AGENCY                       STATUS OR
       AND CASE NUMBER                     NATURE OF PROCEEDING              AND LOCATION                          DISPOSITION


       56 Main Street Realty v Kurt         Lease payment                    Salem District Court                 Pending
       Sanborn                                                               New Hampshire


       Drew Weber v Kurt Sanborn            civil litigation                 U.S. District Court                  Judgment
          06-10125-JLA                                                       Massachusetts

       b. Describe all property that has been attached, garnished or seized under any legal or equitable
       process within one year immediately preceding the commencement of this case. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None


       NAME AND ADDRESS                                                                 DESCRIPTION
       OF PERSON FOR WHOSE                                     DATE OF                  AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                             SEIZURE                  PROPERTY
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                                                                                                                            3


       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale,
       transferred through a deed in lieu of foreclosure or returned to the seller, within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning property of either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                           DATE OF REPOSSESSION,          DESCRIPTION
       NAME AND ADDRESS                                    FORECLOSURE SALE               AND VALUE OF
       OF CREDITOR OR SELLER                               TRANSFER OR RETURN             PROPERTY


       MERS, Inc.                                            04/01/2007                   Home in Bow, New Hampshire
       c/o Harman Law Offices PC                                                          $400,000.00
       150 California Street
       Newton, MA 02458


       6. Assignments and receiverships
None


       a. Describe any assignment of property for the benefit of creditors made within 120 days
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                      DATE OF                      ASSIGNMENT
       OF ASSIGNEE                                           ASSIGNMENT                   OR SETTLEMENT



       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official
       within one year immediately preceding the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None
                                                NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY


       7. Gifts
None

            List all gifts or charitable contributions made within one year immediately preceding the
       commencement of this case except ordinary and usual gifts to family members aggregating less
       than $200 in value per individual family member and charitable contributions aggregating less
       than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts
       or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses
       are separated and a joint petition is not filed.)

       NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                TO DEBTOR,                    DATE                         AND VALUE OF
       OR ORGANIZATION                          IF ANY                        OF GIFT                      GIFT
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                                                                                                                                4

       8. Losses

None

       List all losses from fire, theft, other casualty or gambling within one year immediately preceding
       the commencement of this case or since the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                          DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                                LOSS

       9. Payments related to debt counseling or bankruptcy
None        List all payments made or property transferred by or on behalf of the debtor to any persons,
       including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law
       or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.
       NAME AND ADDRESS                                       DATE OF PAYMENT,             AMOUNT OF MONEY OR
       OF PAYEE                                               NAME OF PAYOR IF             DESCRIPTION AND VALUE
                                                              OTHER THAN DEBTOR            OF PROPERTY
       Ford, Weaver & McDonald, P.A.                          April 18, 2007                $1,799.00
       10 Pleasant Street, Suite 400                                                        $1,500.00 attorney fees
       Portsmouth, NH 03801                                                                 $299.00 filing fee


       10. Other transfers
None

       a. List all other property, other than property transferred in the ordinary course of the business or
       financial affairs of the debtor, transferred either absolutely or as security within two years
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                   DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                             TRANSFERRED
       RELATIONSHIP TO DEBTOR                                 DATE                                 AND VALUE RECEIVED




None


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
       to a self-settled trust or similar device of which the debtor is a beneficiary.

       NAME OF TRUST OR OTHER                                 DATE(S) OF                           AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                                 TRANSFER(S)                          AND VALUE OF PROPERTY OR DEBTOR'S
                                                                                                   INTEREST IN PROPERTY
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                                                                                                                                 5

       11. Closed financial accounts
None

       List all financial accounts and instruments held in the name of the debtor or for the benefit of
       the debtor which were closed, sold, or otherwise transferred within one year immediately preceding
       the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit
       unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                             TYPE OF ACCOUNT, LAST FOUR          AMOUNT AND
       NAME AND ADDRESS                                      DIGITS OF ACCOUNT NUMBER,           DATE OF SALE
       OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE         OR CLOSING


       12. Safe deposit boxes
None

       List each safe deposit or other box or depository in which the debtor has or had securities,
       cash, or other valuables within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       NAME AND ADDRESS                        NAMES AND ADDRESSES                DESCRIPTION                    DATE OF TRANSFER
       OF BANK OR                              OF THOSE WITH ACCESS               OF                             OR SURRENDER,
       OTHER DEPOSITORY                        TO BOX OR DEPOSITORY               CONTENTS                       IF ANY


       13. Setoffs
None

       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor
       within 90 days preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF                                       AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                   SETOFF                                        SETOFF


       14. Property held for another person
None

       List all property owned by another person that the debtor holds or controls.
       NAME AND ADDRESS                                      DESCRIPTION AND VALUE
       OF OWNER                                              OF PROPERTY                         LOCATION OF PROPERTY


       15. Prior address of debtor
None   If the debtor has moved within three years immediately preceding the commencement of this case, list all
       premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
       joint petition is filed, report also any separate address of either spouse.
       ADDRESS                                                        NAME USED                              DATES OF OCCUPANCY

       2 Ridgewood Road                                               Kurt Sanborn                            10/1/2004 - 7/1/2005
       Bow, NH 03301
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       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME

       Kimberly Sanborn

       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

       a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
       that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
       date of the notice, and, if known, the Environmental Law.
None

       SITE NAME AND                              NAME AND ADDRESS                   DATE OF                     ENVIRONMENTAL
       ADDRESS                                    OF GOVERNMENTAL UNIT               NOTICE                      LAW




       b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
       Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

None

       SITE NAME AND                        NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                              OF GOVERNMENTAL UNIT                 NOTICE                 LAW




       c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.
None

       NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                        DISPOSITION
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                                                                                                                                   7


       18. Nature, location and name of business
None

       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOC. SEC. NO./
       NAME                      COMPLETE EIN OR         ADDRESS                         NATURE OF BUSINESS        BEGINNING AND ENDING
                                 OTHER TAXPAYER                                                                    DATES
                                 I.D. NO.


       b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
       U.S.C. § 101.
None

       NAME                                                                       ADDRESS

       19. Books, records and financial statements
None

       a. List all bookkeepers and accountants who within two years immediately preceding the filing of
       this bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                                           DATES SERVICES RENDERED

       b. List all firms or individuals who within the two years immediately preceding the filing of this
       bankruptcy case have audited the books of account and records, or prepared a financial statement
       of the debtor.
None

       NAME AND ADDRESS                                                           DATES SERVICES RENDERED

       c. List all firms or individuals who at the time of the commencement of this case were in
       possession of the books of account and records of the debtor. If any of the books of account and
       records are not available, explain.
None

       NAME                                                             ADDRESS

       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies,
       to whom a financial statement was issued by the debtor within two years immediately preceding the
       commencement of this case by the debtor.
None

       NAME AND ADDRESS                                                 DATE ISSUED
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                                                                                                                                       8


       20. Inventories
None

       a. List the dates of the last two inventories taken of your property, the name of the person who
       supervised the taking of each inventory, and the dollar amount and basis of each inventory.
                                                                                             DOLLAR AMOUNT OF INVENTORY
       DATE OF INVENTORY                INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)


       b. List the name and address of the person having possession of the records of each of the two
       inventories reported in a., above.
None
                                                                         NAME AND ADDRESSES OF CUSTODIAN
       DATE OF INVENTORY                                                 OF INVENTORY RECORDS

       21. Current Partners, Officers, Directors and Shareholders
None

       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each
       member of the partnership.
       NAME AND ADDRESS                                        NATURE OF INTEREST                     PERCENTAGE OF INTEREST

       b. If the debtor is a corporation, list all officers and directors of the corporation, and each
       stockholder who directly or indirectly owns, controls, or holds 5 percent or more of the voting
       securities of the corporation.
None

                                                                                                      NATURE AND PERCENTAGE
       NAME AND ADDRESS                                        TITLE                                  OF STOCK OWNERSHIP




       22. Former partners, officers, directors and shareholders
None

       a. If the debtor is a partnership, list each member who withdrew from the partnership within one
       year immediately preceding the commencement of this case.
       NAME                                      ADDRESS                                                    DATE OF WITHDRAWAL




       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation
       terminated within one year immediately preceding the commencement of this case.
None
                                                               TITLE                                  DATE OF TERMINATION
       NAME AND ADDRESS
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       23. Withdrawals from a partnership or distributions by a corporation
None

       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given
       to an insider, including compensation in any form, bonuses, loans, stock redemptions, options
       exercised and any other perquisite during one year immediately preceding the commencement
       of this case.
       NAME & ADDRESS                                                                                 AMOUNT OF MONEY
       OF RECIPIENT,                                          DATE AND PURPOSE                        OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                                 OF WITHDRAWAL                           AND VALUE OF PROPERTY




       24. Tax Consolidation Group.
None

       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
       consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                               TAXPAYER IDENTIFICATION NUMBER


       25. Pension Funds.
None

       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the
       debtor, as an employer, has been responsible for contributing at any time within six years immediately preceding the
       commencement of the case.

       NAME OF PENSION FUND                                                TAXPAYER IDENTIFICATION NUMBER




                                                                  * * * * * *


   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 4/20/2007                                             Signature    s/ Kurt Sanborn
                                                              of Debtor    Kurt Sanborn
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FORM B6A
(10/05)

In re:   Kurt Sanborn                                       ,
                                                                                                             Case No.
                                                                                                                                           (If known)
                                     Debtor




                                SCHEDULE A - REAL PROPERTY
                                                                                                             CURRENT VALUE




                                                                         HUSBAND, WIFE, JOINT
                                                                                                              OF DEBTOR'S




                                                                           OR COMMUNITY
                                                                                                               INTEREST IN
              DESCRIPTION AND                                                                              PROPERTY, WITHOUT                      AMOUNT OF
                                           NATURE OF DEBTOR'S
                LOCATION OF                                                                                  DEDUCTING ANY                         SECURED
                                          INTEREST IN PROPERTY                                              SECURED CLAIM
                 PROPERTY                                                                                                                           CLAIM
                                                                                                              OR EXEMPTION




                                   None                                                                                     $       0.00                $     0.00



                                                                 Total                                                      $       0.00
                                                                                                (Report also on Summary of Schedules.)
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FormB6B
(10/05)

In re    Kurt Sanborn                                                                ,
                                                                                                    Case No.
                                                                                                                                         (If known)
                                                                Debtor




                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                         CURRENT VALUE OF
                                                                                                                                         DEBTOR'S INTEREST




                                                                                                                 OR COMMUNITY
                                                                                                                                         IN PROPERTY, WITH-
                                                                         DESCRIPTION AND LOCATION                                        OUT DEDUCTING ANY
                                                   NONE
             TYPE OF PROPERTY                                                  OF PROPERTY                                                  SECURED CLAIM
                                                                                                                                            OR EXEMPTION




   1. Cash on hand                                 X

   2. Checking, savings or other financial         X
      accounts, certificates of deposit, or
      shares in banks, savings and loan, thrift,
      building and loan, and homestead
      associations, or credit unions, brokerage
      houses, or cooperatives.


   3. Security deposits with public utilities,     X
      telephone companies, landlords, and
      others.


   4. Household goods and furnishings,                    usual - used furnishings                                                                    3,500.00
      including audio, video, and computer
      equipment.


   5. Books, pictures and other art objects,       X
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.


   6. Wearing apparel.                                    usual - clothes                                                                             1,000.00

   7. Furs and jewelry.                            X

   8. Firearms and sports, photographic, and       X
      other hobby equipment.


   9. Interests in insurance policies. Name        X
      insurance company of each policy and
      itemize surrender or refund value of
      each.


 10. Annuities. Itemize and name each              X
     issuer.


 11. Interests in an education IRA as defined      X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c); Rule
     1007(b)).


 12. Interests in IRA, ERISA, Keogh, or other      X
     pension or profit sharing plans. Give
     Particulars.
           Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                                Page 14 of 39
Form B6B-Cont.
(10/05)

In re   Kurt Sanborn                                                                      ,
                                                                                                        Case No.
                                                                                                                                             (If known)
                                                                   Debtor




                                          SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                             CURRENT VALUE OF
                                                                                                                                             DEBTOR'S INTEREST




                                                                                                                     OR COMMUNITY
                                                                                                                                             IN PROPERTY, WITH-
                                                                             DESCRIPTION AND LOCATION                                        OUT DEDUCTING ANY
                                                    NONE
            TYPE OF PROPERTY                                                       OF PROPERTY                                                  SECURED CLAIM
                                                                                                                                                OR EXEMPTION




 13. Stock and interests in incorporated and        X
     unincorporated businesses. Itemize.


 14. Interests in partnerships or joint             X
     ventures. Itemize.


 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.


 16. Accounts receivable.                           X

 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.


 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.


 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.


 20. Contingent and noncontingent interests                Trust                                                                                            0.00
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.


 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.


 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.


 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.


 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining
     a product or service from the debtor
     primarily for personal, family, or
     household purposes.
              Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                                 Page 15 of 39
Form B6B-Cont.
(10/05)

In re      Kurt Sanborn                                                                ,
                                                                                                    Case No.
                                                                                                                                                 (If known)
                                                               Debtor




                                          SCHEDULE B - PERSONAL PROPERTY
                                                                        (Continuation Sheet)




                                                                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                 CURRENT VALUE OF
                                                                                                                                                 DEBTOR'S INTEREST




                                                                                                                         OR COMMUNITY
                                                                                                                                                 IN PROPERTY, WITH-
                                                                         DESCRIPTION AND LOCATION                                                OUT DEDUCTING ANY
                                                   NONE
               TYPE OF PROPERTY                                                OF PROPERTY                                                          SECURED CLAIM
                                                                                                                                                    OR EXEMPTION




 25. Automobiles, trucks, trailers, and other             1993 Cadillac Escalade                                                                               10,000.00
     vehicles and accessories.


        Automobiles, trucks, trailers, and other          2003 Jeep Wrangler                                                                                   15,000.00
        vehicles and accessories.


 26. Boats, motors, and accessories.               X

 27. Aircraft and accessories.                     X

 28. Office equipment, furnishings, and            X
     supplies.


 29. Machinery, fixtures, equipment and            X
     supplies used in business.


 30. Inventory.                                    X

 31. Animals.                                      X

 32. Crops - growing or harvested. Give            X
     particulars.


 33. Farming equipment and implements.             X

 34. Farm supplies, chemicals, and feed.           X

 35. Other personal property of any kind not       X
     already listed. Itemize.



                                                          2   continuation sheets attached                     Total                                          $ 29,500.00

                                                                                                                   (Include amounts from any continuation sheets
                                                                                                                   attached. Report total also on Summary of
                                                                                                                   Schedules.)
           Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                         Page 16 of 39
Official Form 6C (04/07)


In re   Kurt Sanborn                                                                               Case No.
                                                                                      ,
                                                                                                                           (If known)
                                                              Debtor



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                            $136,875
   11 U.S.C. § 522(b)(2)
  11 U.S.C. § 522(b)(3)


                                                                                           VALUE OF                      CURRENT
                                                           SPECIFY LAW
                                                                                           CLAIMED                  VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                          EXEMPTION                 WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                        EXEMPTION


1993 Cadillac Escalade                      RSA § 511:2(XVIII)                                 7,000.00                                10,000.00
2003 Jeep Wrangler                          RSA § 511.2(XVI)                                   4,000.00                                15,000.00
usual - clothes                             RSA § 511:2(XVIII)                                 1,000.00                                 1,000.00
usual - used furnishings                    RSA § 511:2(III)                                   3,500.00                                 3,500.00
            Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                                                         Page 17 of 39
Official Form 6D (10/06)

 In re Kurt Sanborn                                                                                   ,           Case No.
                                                 Debtor                                                                                                         (If known)


                SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                  Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                             HUSBAND, WIFE, JOINT
             CREDITOR'S NAME AND                                                                DATE CLAIM WAS                                                   AMOUNT OF
               MAILING ADDRESS                                                                 INCURRED, NATURE                                                 CLAIM WITHOUT               UNSECURED




                                                                                                                                    UNLIQUIDATED
                                                               OR COMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                            PORTION, IF




                                                  CODEBTOR




                                                                                                                                                   DISPUTED
           INCLUDING ZIP CODE AND                                                                 OF LIEN, AND                                                    DEDUCTING
             AN ACCOUNT NUMBER                                                                  DESCRIPTION AND                                                    VALUE OF                    ANY
            (See Instructions, Above.)                                                        VALUE OF PROPERTY                                                  COLLATERAL
                                                                                                SUBJECT TO LIEN


ACCOUNT NO.                                                                                                                                                                8,000.00                      0.00
Chase Auto Finance                                                                  Security Agreement
                                                                                    Automobile Loan - 1993 Cadillac
PO Box 260161
                                                                                    Escalade
Baton Rouge, LA 70826                                                               __________________________
                                                                                    VALUE $10,000.00


ACCOUNT NO.                                                                                                                                                              15,000.00                       0.00
Triad Financial Corp.                                                               Statutory Lien
                                                                                    2003 Jeep Wrangler
PO Box 4459
                                                                                    __________________________
Huntington Beach, CA 92605-4459                                                     VALUE $15,000.00




 0      continuation sheets
        attached
                                                                                    Subtotal
                                                                                    (Total of this page)
                                                                                                                                                                $        23,000.00 $                    0.00
                                                                                    Total                                                                       $        23,000.00 $                    0.00
                                                                                    (Use only on last page)

                                                                                                                                                              (Report also on Summary of (If applicable, report
                                                                                                                                                              Schedules)                 also on Statistical
                                                                                                                                                                                         Summary of Certain
                                                                                                                                                                                         Liabilities and
                                                                                                                                                                                         Related Data.)
                Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                      Page 18 of 39
Official Form 6E (04/07)

In re       Kurt Sanborn                                                                 ,                              Case No.
                                                                Debtor                                                                              (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
        Domestic Support Obligations

     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of
business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

    Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or
household use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                                    1 continuation sheets attached
               Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                                                                       Page 19 of 39
Official Form 6E (04/07) - Cont.

In re     Kurt Sanborn                                                                                                                                                    Case No.
                                                                                                                 ,                                                                                 (If known)
                                                                       Debtor


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                               DATE CLAIM WAS                                                               AMOUNT            AMOUNT         AMOUNT




                                                                    OR COMMUNITY




                                                                                                                                               UNLIQUIDATED
                                                                                                                                  CONTINGENT
              MAILING ADDRESS                                                                INCURRED AND                                                                OF CLAIM        ENTITLED TO        NOT


                                                       CODEBTOR




                                                                                                                                                              DISPUTED
            INCLUDING ZIP CODE,                                                             CONSIDERATION                                                                                 PRIORITY      ENTITLED TO
           AND ACCOUNT NUMBER                                                                  FOR CLAIM                                                                                                PRIORITY, IF
           (See instructions above.)                                                                                                                                                                        ANY



 ACCOUNT NO.




Sheet no. 1 of 1 continuation sheets attached to Schedule of
                                                                                                                                 Subtotals
                                                                                                                     (Totals of this page)
                                                                                                                                                                  $          0.00 $             0.00 $          0.00
Creditors Holding Priority Claims
                                                                                                                                Total
                                                                                         (Use only on last page of the completed
                                                                                         Schedule E. Report also on the Summary of
                                                                                                                                                                 $           0.00
                                                                                         Schedules.)
                                                                                                                                  Total
                                                                                         (Use only on last page of the completed                                                     $          0.00 $          0.00
                                                                                         Schedule E. If applicable, report also on the
                                                                                         Statistical Summary of Certain Liabilities
                                                                                         and Related Data. )
              Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                                                            Page 20 of 39

Official Form 6F (10/06)
In re   Kurt Sanborn                                                                                      ,                          Case No.
                                                     Debtor                                                                                                            (If known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                                                               AMOUNT OF




                                                                  OR COMMUNITY




                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                          CONTINGENT
                  MAILING ADDRESS                                                                          INCURRED AND                                                                                  CLAIM




                                                     CODEBTOR




                                                                                                                                                                                        DISPUTED
                INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                              CLAIM.
                (See instructions above.)                                                              IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE

ACCOUNT NO.                                                       H                                                                                                                     X                  7,000.00
 56 Main Street Realty                                                                   56 Main Street Realty v. Kurt Sanborn
 c/o Brian Germaine, Esq.
 23 Birch Street
 Derry, NH 03038


ACCOUNT NO.        397644                                                                                                                                                                                     50.00
 ACSI Revenue Management                                                                 Quality Orthopaedic Care, PC
 520 Main Street
 Waltham, MA 02452



ACCOUNT NO.                                                                                                                                                                                                  335.01
 Credit Bureau of Plymouth, NH, Inc.                                                     Fred Fuller Oil
 PO Box 22
 Plymouth, NH 03264



ACCOUNT NO.                                                       H                                                                                                                                     8,000,000.00
 Drew Weber                                                                              Drew Weber v Kurt Sanborn
 c/o Joseph Rheinhart, Esquire
 Essex House, Faneuil Hall
 South Market Bldg. 4th Floor
 Boston, MA

ACCOUNT NO.        296667                                                                                                                                                                                    228.00
 ElectroMedical Associates, Inc.                                                         X-Ray Professional Assoc.
 PO Box 473
 Amherst, NH 03031-0473




               1    Continuation sheets attached

                                                                                                                                                         Subtotal                                  $    8,007,613.01
                                                                                                                                                                 Total                             $
                                                                                                           (Use only on last page of the completed Schedule F.)
                                                                                       (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                              Summary of Certain Liabilities and Related Data.)
               Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                                                      Page 21 of 39

Official Form 6F (10/06) - Cont.
In re     Kurt Sanborn                                                                               ,                          Case No.
                                                Debtor                                                                                                            (If known)


          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




                                                           HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                  DATE CLAIM WAS                                                                               AMOUNT OF




                                                             OR COMMUNITY




                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                     CONTINGENT
                    MAILING ADDRESS                                                                   INCURRED AND                                                                                  CLAIM




                                                CODEBTOR




                                                                                                                                                                                   DISPUTED
                  INCLUDING ZIP CODE,                                                              CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                       CLAIM.
                  (See instructions above.)                                                       IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE

 ACCOUNT NO.       10039225300003460                                                                                                                                               X                400,000.00
 MERS, Inc.                                                                         mortgage
 c/o Harman Law Offices PC                                                          deficiency 2005
 150 California Street
 Newton, MA 02458


 ACCOUNT NO.                                                                                                                                                                                            275.00
 N.H./Northeast Credit Services, Inc.                                               SJ Physician Services
 PO Box 6539
 Nashua, NH 03063-6539




Sheet no. 1 of 1 continuation sheets attached                                                                                                                                                 $
                                                                                                                                                    Subtotal                                        400,275.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                                                            $
                                                                                                                                                            Total                                  8,407,888.01
                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                         Summary of Certain Liabilities and Related Data.)
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Form B6G
(10/05)

In re:    Kurt Sanborn                                                                        Case No.
                                                                                     ,
                                                          Debtor                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          Check this box if debtor has no executory contracts or unexpired leases.


                                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
             NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
               OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                             NUMBER OF ANY GOVERNMENT CONTRACT.


  Equestrian Village, LLC                                                     residential lease in return for labor
            Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                Page 23 of 39
Form B6H
(10/05)
In re:    Kurt Sanborn                                                Case No.
                                                                  ,                       (If known)
                                                         Debtor


                                               SCHEDULE H - CODEBTORS
            Check this box if debtor has no codebtors.




                     NAME AND ADDRESS OF CODEBTOR                       NAME AND ADDRESS OF CREDITOR
            Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                     Page 24 of 39
Official Form 6I (10/06)
 In re     Kurt Sanborn                                                             ,
                                                                                                        Case No.
                                                                   Debtor                                                             (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12 or 13 case whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Married
                                                RELATIONSHIP(S):                                                                  AGE(S):
                                          Daughter                                                                                                 9
                                          Son                                                                                                      6
 Employment:                                            DEBTOR                                                       SPOUSE
 Occupation                     unemployed
 Name of Employer

 How long employed
 Address of Employer

 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                    DEBTOR                         SPOUSE

 1. Monthly gross wages, salary, and commissions
      (Prorate if not paid monthly.)                                                               $                      0.00 $
 2. Estimate monthly overtime                                                                      $                      0.00 $

 3. SUBTOTAL                                                                                       $                     0.00     $
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                      $                      0.00 $
                                                                                                   $                      0.00 $
         b. Insurance
         c. Union dues                                                                              $                     0.00 $
         d. Other (Specify)                                                                         $                     0.00 $

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                 $                      0.00 $
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                $                      0.00 $
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                               $                      0.00 $
 8. Income from real property                                                                      $                      0.00 $
 9. Interest and dividends                                                                         $                      0.00 $
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                             $                      0.00 $
 11. Social security or other government assistance
 (Specify)                                                                                         $                      0.00 $
 12. Pension or retirement income                                                                  $                      0.00 $
 13. Other monthly income
 (Specify) parental contribution                                                                   $                3,000.00      $

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                $                3,000.00      $

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                  $                 3,000.00 $
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                            $ 3,000.00
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                               (Report also on Summary of Schedules and, if applicable, on
                                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
 NONE
             Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                        Page 25 of 39
Official Form 6J (10/06)
  In re    Kurt Sanborn                                                                                         Case No.
                                                                                        ,
                                                              Debtor                                                                  (If known)


                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Pro rate any payments
 made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

          Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
          expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                          $                  2,700.00
          a. Are real estate taxes included?       Yes                       No
       b. Is property insurance included?          Yes                       No
 2. Utilities: a. Electricity and heating fuel                                                                                  $                  1,000.00
                b. Water and sewer                                                                                              $                      0.00
                c. Telephone                                                                                                    $                    200.00
                d. Other                                                                                                        $                    200.00
 3. Home maintenance (repairs and upkeep)                                                                                       $                    400.00
 4. Food                                                                                                                        $                    400.00
 5. Clothing                                                                                                                    $                      0.00
 6. Laundry and dry cleaning                                                                                                    $                      0.00
 7. Medical and dental expenses                                                                                                 $                      0.00
 8. Transportation (not including car payments)                                                                                 $                      0.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                            $                      0.00
10. Charitable contributions                                                                                                    $                      0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner’s or renter’s                                                                                   $                    380.00
                   b. Life                                                                                                      $                      0.00
                   c. Health                                                                                                    $                      0.00
                   d. Auto                                                                                                      $                    380.00
                   e. Other                                                                                                     $                       0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                      $                      0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                         $                    673.00
                   b. Other                                                                                                     $                       0.00
 14. Alimony, maintenance, and support paid to others                                                                           $                      0.00
 15. Payments for support of additional dependents not living at your home                                                      $                      0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                               $                      0.00
 17. Other                                                                                                                      $                       0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                            $                  6,333.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
             a. Average monthly income from Line 15 of Schedule I                                                                $                  3,000.00
             b. Average monthly expenses from Line 18 above                                                                      $                  6,333.00
             c. Monthly net income (a. minus b.)                                                                                 $                 -3,333.00
           Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                                Page 26 of 39

Official Form 6 - Declaration (10/06)

  In re Kurt Sanborn                                                                         ,                                 Case No.
                                                                Debtor                                                                                     (If known)



                            DECLARATION CONCERNING DEBTOR'S SCHEDULES
                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

   I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 16 sheets (total shown on
summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.

Date: 4/20/2007                                                                     Signature: s/ Kurt Sanborn
                                                                                                  Kurt Sanborn
                                                                                                                                Debtor
                                                                                   [If joint case, both spouses must sign]


        DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                          (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
             Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                                     Page 27 of 39

B 203
(12/94)

                                                        UNITED STATES BANKRUPTCY COURT
                                                                  District of New Hampshire
In re:           Kurt Sanborn                                                                                         Case No.
                                                                                                                      Chapter        7
                                                   Debtor

                                DISCLOSURE OF COMPENSATION OF ATTORNEY
                                               FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                            $         1,799.00
          Prior to the filing of this statement I have received                                                                  $         1,799.00
          Balance Due                                                                                                            $               0.00
2. The source of compensation paid to me was:

                 Debtor                                           Other (specify)
3. The source of compensation to be paid to me is:
                  Debtor                                           Other (specify)

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
             of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
             my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
             attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a)      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

     b)      Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)      [Other provisions as needed]
             $1,500.00 attorneys services rendered
             $299.00 filing fee
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             None


                                                                         CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.

  Dated: 4/20/2007

                                                                         /s/ Marc W. McDonald
                                                                         Marc W. McDonald, Esq., Bar No. BNH01314

                                                                          Ford, Weaver & McDonald, P.A.
                                                                          Attorney for Debtor(s)
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Form 8
(10/05)

                                                    UNITED STATES BANKRUPTCY COURT
                                                             District of New Hampshire

  In re:    Kurt Sanborn                                                                                            Case No.
                                                                                          ,
                                                                  Debtor                                            Chapter      7


                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
        I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.

        I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
        I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:



                                                                                                                    Property will          Debt will be
                                                                                               Property             be redeemed            reaffirmed
 Description of Secured                    Creditor's                       Property will be   is claimed
 Property                                  Name                             Surrendered                             pursuant to            pursuant to
                                                                                               as exempt            11 U.S.C. § 722        11 U.S.C. § 524(c)

 1.     Automobile Loan - 1993             Chase Auto Finance                                                                                      X
        Cadillac Escalade
 2.     2003 Jeep Wrangler                 Triad Financial Corp.                                                                                   X




                                                                             Lease will be
Description of Leased                       Lessor's                         assumed pursuant
Property                                    Name                             to 11 U.S.C. §
                                                                             362(h)(1)(A)

 1. residential lease in return             Equestrian Village,                      X
    for labor                               LLC


Date:       4/20/2007                                                                             s/ Kurt Sanborn
                                                                                                   Signature of Debtor
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Official Form 6 - Summary (10/06)


                                                            United States Bankruptcy Court
                                                                District of New Hampshire


In re   Kurt Sanborn                                                                    ,                    Case No.
                                                                Debtor
                                                                                                             Chapter      7

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E,
and F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data" if
they file a case under chapter 7, 11, or 13.




        NAME OF SCHEDULE                   ATTACHED         NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                        1        $                   0.00

 B - Personal Property                        YES                        3        $            29,500.00

 C - Property Claimed
     as Exempt                                YES                        1

 D - Creditors Holding                        YES                        1                                     $              23,000.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                        2                                     $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                        2                                     $           8,407,888.01
     Nonpriority Claims

 G - Executory Contracts and                  YES                        1
     Unexpired Leases

 H - Codebtors                                YES                        1

 I - Current Income of                                                                                                                          $            3,000.00
     Individual Debtor(s)                     YES                        1

 J - Current Expenditures of                  YES                        1
     Individual Debtor(s)                                                                                                                       $            6,333.00

                                                                       14         $           29,500.00        $         8,430,888.01
                                    TOTAL
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Official Form 6 - Statistical Summary (10/06)

                                              United States Bankruptcy Court
                                                District of New Hampshire

In re   Kurt Sanborn                                                  ,
                                                                                     Case No.
                                                   Debtor                            Chapter    7


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

              Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


 Type of Liability                                              Amount
 Domestic Support Obligations (from Schedule E)                 $ 0.00

 Taxes and Certain Other Debts Owed to Governmental Units
 (from Schedule E) (whether disputed or undisputed)             $ 0.00

 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E)                                  $ 0.00

 Student Loan Obligations (from Schedule F)                     $ 0.00

 Domestic Support, Separation Agreement, and Divorce
 Decree Obligations Not Reported on Schedule E.                 $ 0.00

 Obligations to Pension or Profit-Sharing, and Other Similar
 Obligations (from Schedule F)                                  $ 0.00

                                                   TOTAL        $ 0.00

State the following:

 Average Income (from Schedule I, Line 16)                      $ 3,000.00

 Average Expenses (from Schedule J, Line 18)                    $ 6,333.00

 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                            $ 3,000.00

State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF
 ANY” column                                                                       $0.00

 2. Total from Schedule E, “AMOUNT ENTITLED TO
 PRIORITY” column.                                              $ 0.00

 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY” column                                                          $0.00

 4. Total from Schedule F                                                          $8,407,553.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                      $8,407,553.00
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Official Form 22A (Chapter 7) (04/07)

In re   Kurt Sanborn                                                                   According to the calculations required by this statement:
                     Debtor(s)                                                                The presumption arises
                                                                                               The presumption does not arise
Case Number:
                                                                                         (Check the box as directed in Parts I, III, and VI of this statement.)
                     (If known)

                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                            AND MEANS-TEST CALCULATION
In addition to Schedule I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly,
whose debts are primarily consumer debts. Joint debtors may complete one statement only.

                                            Part I. EXCLUSION FOR DISABLED VETERANS

         If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at the beginning of the
         Veteran’s Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
         complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
   1
             Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
         defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
         defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).


                       Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
         Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
         a.
         b.
                 Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
                  Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                  penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse
                  and I are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy
   2
            
                  Code." Complete only Column A ("Debtor's Income") for Lines 3-11.
         c.       Married, not filing jointly, without the declaration of separate households set out in line 2.b above. Complete
                  both Column A ("Debtor's Income") and Column B (Spouse's Income) for Lines 3-11.
         d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B (Spouse's Income) for
                  Lines 3-11.
         All figures must reflect average monthly income received from all sources, derived during the six calendar               Column A            Column B
         months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount of      Debtor's            Spouse's
         monthly income varied during the six months, you must divide the six-month total by six, and enter the result on          Income              Income
         the appropriate line.

   3     Gross wages, salary, tips, bonuses, overtime, commissions.                                                            $ 0.00             $

         Income from the operation of a business, profession or farm. Subtract Line b from Line a and
   4     enter the difference in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not
         include any part of the business expenses entered on Line b as a deduction in Part V.
          a.      Gross Receipts                                                           $ 0.00
          b.      Ordinary and necessary business expenses                                 $ 0.00
          c.      Business income                                                          Subtract Line b from Line a         $ 0.00             $

         Rent and other real property income. Subtract Line b from Line a and enter the difference in the
         appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any part of the
         operating expenses entered on Line b as a deduction in Part V.
   5      a.     Gross Receipts                                                         $ 0.00
          b.      Ordinary and necessary operating expenses                                $
                                                                                                                               $ 0.00             $
          c.      Rent and other real property income                                      Subtract Line b from Line a

   6     Interest, dividends, and royalties.                                                                                   $ 0.00             $

   7     Pension and retirement income.                                                                                        $ 0.00             $
   8     Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                $ 3,000.00                                        $
         expenses of the debtor or the debtor’s dependents, including child or spousal support.
         Do not include amounts paid by the debtor’s spouse if Column B is completed .
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Official Form 22A (Chapter 7) (04/07) - Cont.                                                                                                             2

        Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9. However, if
        you contend that unemployment compensation received by you or your spouse was a benefit under the Social
        Security Act, do not list the amount of such compensation in Column A or B, but instead state the amount in
  9     the space below:

         Unemployment compensation claimed to
         be a benefit under the Social Security Act                Debtor $                   Spouse $                         $ 0.00       $

        Income from all other sources. If necessary, list additional sources on a separate page. Do not
        include any benefits received under the Social Security Act or payments received as a victim of a war crime,
        crime against humanity, or as a victim of international or domestic terrorism. Specify source and amount.

  10
         a.                                                                            $
                                                                                                                               $ 0.00       $
        Total and enter on Line 10.

        Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
  11    Column B is completed, add Lines 3 thru 10 in Column B. Enter the total(s).
                                                                                                                               $ 3,000.00   $

        Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
        Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter the amount               $ 3,000.00
  12
        from Line 11, Column A.



                                          Part III. APPLICATION OF § 707(b)(7) EXCLUSION

        Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and enter
  13
        the result.                                                                                                                         $ 36,000.00

        Applicable median family income. Enter the median family income for the applicable state and household size. (This
  14    information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                            $84,155.00
       a. Enter debtor’s state of residence:    NH                                 b. Enter debtor’s household size:     4

        Application of Section 707(b)(7). Check the applicable box and proceed as directed.
  15          The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does not
              arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.

             The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.


                          Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).

                       Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

  16    Enter the amount from Line 12.                                                                                                      $

        Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line 11, Column B that was
  17    NOT paid on a regular basis for the household expenses of the debtor or the debtor’s dependents. If you did not check box at        $
        Line 2.c, enter zero.

  18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                         $

                         Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                           Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

        National Standards: food, clothing, household supplies, personal care, and miscellaneous. Enter
 19     “Total” amount from IRS National Standards for Allowable Living Expenses for the applicable family size and income level. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                          $

        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
 20A    Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is available at
        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).
                                                                                                                                            $
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Official Form 22A (Chapter 7) (04/07) - Cont.                                                                                                    3

        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
        Housing and Utilities Standards; mortgage/rent expense for your county and family size. (This information is available at
 20B    www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average Monthly Payments for any
        debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do not enter an
        amount less than zero.
         a.       IRS Housing and Utilities Standards; mortgage/rental expense       $
         b.       Average Monthly Payment for any debts secured by home, if          $
                  any, as stated in Line 42.
         c.       Net mortgage/rental expense                                        Subtract Line b from Line a                             $

        Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and 20B
        does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities Standards, enter any
 21     additional amount to which you contend you are entitled, and state the basis for your contention in the space below:


                                                                                                                                             $

        Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
        expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and regardless of whether
        you use public transportation.


                                                                                                        
        Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are included as a
        contribution to your household expenses in Line 8.                             0         1          2 or more.
 22
        Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable number
        of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at www.usdoj.gov/ust/   $
        or from the clerk of the bankruptcy court.)

        Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
        you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two vehicles.)

             1        2 or more.
        Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
 23     www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments for any
        debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter the result in Line 23. Do not enter an
        amount less than zero.

         a.       IRS Transportation Standards, Ownership Costs, First Car          $
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                  as stated in Line 42.                                             $
         c.       Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a                             $


        Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
        the “2 or more” Box in Line 23.
        Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
 24     www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments for any
        debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter the result in Line 24. Do not enter an
        amount less than zero.

         a.       IRS Transportation Standards, Ownership Costs, Second Car         $
         b.       Average Monthly Payment for any debts secured by Vehicle 2,       $
                  as stated in Line 42
         c.       Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a                             $

        Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal, state
 25     and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social security taxes, and     $
        Medicare taxes. Do not include real estate or sales taxes.

        Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll deductions
 26     that are required for your employment, such as mandatory retirement contributions, union dues, and uniform costs. Do not
        include discretionary amounts, such as non-mandatory 401(k) contributions.
                                                                                                                                             $

        Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for term life
 27     insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for any other form
                                                                                                                                             $
        of insurance.
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Official Form 22A (Chapter 7) (04/07) - Cont.                                                                                                     4

        Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to pay
 28     pursuant to court order, such as spousal or child support payments. Do not include payments on past due support
                                                                                                                                              $
        obligations included in Line 44.

        Other Necessary Expenses: education for employment or for a physically or mentally challenged
 29     child. Enter the total monthly amount that you actually expend for education that is a condition of employment and for education
        that is required for a physically or mentally challenged dependent child for whom no public education providing similar services is   $
        available.

        Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on childcare- such
 30                                                                                                                                           $
        as baby-sitting, day care, nursery and preschool. Do not include other educational payments.

        Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health care
 31
        expenses that are not reimbursed by insurance or paid by a health savings account. Do not include payments for health
        insurance or health savings accounts listed in Line 34.                                                                               $

        Other Necessary Expenses: telecommunication services. Enter the average monthly amount that you actually
 32     pay for telecommunication services other than your basic home telephone service—such as cell phones, pagers, call waiting,
        caller id, special long distance, or internet service—to the extent necessary for your health and welfare or that of your             $
        dependents. Do not include any amount previously deducted.

 33     Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                   $

                                       Subpart B: Additional Expense Deductions under § 707(b)
                                Note: Do not include any expenses that you have listed in Lines 19-32
        Health Insurance, Disability Insurance and Health Savings Account Expenses. List and total the average
        monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following categories.

         a.       Health Insurance                                            $
 34
         b.       Disability Insurance                                        $
         c.       Health Savings Account                                      $
                                                                              Total: Add Lines a, b and c                                     $

        Continued contributions to the care of household or family members. Enter the actual monthly expenses that
 35     you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of      $
        your household or member of your immediate family who is unable to pay for such expenses.
        Protection against family violence. Enter any average monthly expenses that you actually incurred to maintain the
 36     safety of your family under the Family Violence Prevention and Services Act or other applicable federal law. The nature of these      $
        expenses is required to be kept confidential by the court.

        Home energy costs. Enter the average monthly amount, in excess of the allowance specified by IRS Local Standards for
 37     Housing and Utilities, that you actually expend for home energy costs. You must provide your case trustee with                        $
        documentation demonstrating that the additional amount claimed is reasonable and necessary.


        Education expenses for dependent children less than 18. Enter the average monthly expenses that you actually
        incur, not to exceed $137.50 per child, in providing elementary and secondary education for your dependent children less than
 38     18 years of age. You must provide your case trustee with documentation demonstrating that the amount claimed is
        reasonable and necessary and not already accounted for in the IRS Standards.                                                          $

        Additional food and clothing expense. Enter the average monthly amount by which your food and clothing expenses
        exceed the combined allowances for food and apparel in the IRS National Standards, not exceed five percent of those combined
 39     allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must provide
        your case trustee with documentation demonstrating that the additional amount claimed is reasonable and
                                                                                                                                              $
        necessary.

        Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
 40     financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                           $

 41     Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                                           $
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Official Form 22A (Chapter 7) (04/07) - Cont.                                                                                                    5

                                                  Subpart C: Deductions for Debt Payment

        Future payments on secured claims. For each of your debts that is secured by an interest in property that you own, list
        the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment. The Average Monthly
        Payment is the total of all amounts contractually due to each Secured Creditor in the 60 months following the filing of the
        bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and insurance required by the mortgage. If
        necessary, list additional entries on a separate page.
 42                     Name of Creditor                     Property Securing the Debt                 60-month Average Payment
         a.                                                                                             $
                                                                                                        Total: Add Lines a, b and c          $
        Other payments on secured claims. If any of the debts listed in Line 42 are secured by your primary residence, a motor
        vehicle, or other property necessary for your support or the support of your dependents, you may include in your deduction
        1/60th of any amount (the “cure amount”) that you must pay the creditor in addition to the payments listed in Line 42, in order to
        maintain possession of the property. The cure amount would include any sums in default that must be paid in order to avoid
        repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on a
 43     separate page.
                       Name of Creditor                      Property Securing the Debt                 1/60th of the Cure Amount

                                                                                                        Total: Add Lines a, b and c          $

        Payments on priority claims. Enter the total amount of all priority claims (including priority child support and alimony
 44                                                                                                                                          $
        claims), divided by 60.

        Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following chart,
        multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

          a.     Projected average monthly Chapter 13 plan payment.                                 $
          b.     Current multiplier for your district as determined under schedules issued
 45              by the Executive Office for United States Trustees. (This information is
                 available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                 court.)                                                                           x
          c.     Average monthly administrative expense of Chapter 13 case
                                                                                                    Total: Multiply Lines a and b            $

 46     Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                           $

                                         Subpart D: Total Deductions Allowed under § 707(b)(2)

 47     Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                          $
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Official Form 22A (Chapter 7) (04/07) - Cont.                                                                                                                6


                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

 48     Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                              $
 49     Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                   $
 50     Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result                                     $

        60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
 51     result.
                                                                                                                                            $

        Initial presumption determination. Check the applicable box and proceed as directed.

            The amount on Line 51 is less than $6,575 Check the box for “The presumption does not arise” at the top of page 1 of this
             statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52         The amount set forth on Line 51 is more than $10,950. Check the box for “The presumption arises” at the top of page 1 of this
             statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.

            The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53 through
             55).

 53     Enter the amount of your total non-priority unsecured debt                                                                          $
 54     Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                              $

        Secondary presumption determination. Check the applicable box and proceed as directed.


 55
            The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the top of
             page 1 of this statement, and complete the verification in Part VIII.

            The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption arises” at
             the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.



                                               Part VII. ADDITIONAL EXPENSE CLAIMS
        Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of you
        and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I). If necessary,
        list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the expenses.
 56
                                               Expense Description                                                Monthly Amount
                                                                    Total: Add Lines a, b, and c      $


                                                            Part VIII: VERIFICATION
        I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
        both debtors must sign.)
  57             Date: 4/20/2007                              Signature: s/ Kurt Sanborn
                                                                          Kurt Sanborn, (Debtor)


        Income from all other sources (continued)
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    B 201 (04/09/06)

                                       UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW HAMPSHIRE


                       NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                     OF THE BANKRUPTCY CODE
                 In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
    credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
    you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine
    all information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
    not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should
    you decide to file a petition. Court employees cannot give you legal advice.
    1. Services Available from Credit Counseling Agencies
             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
    bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
    counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
    before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
    telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
    United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
    approved budget and credit counseling agencies.
              In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
    management instructional course before he or she can receive a discharge. The clerk also has a list of approved
    financial management instructional courses.


    2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

              1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
   Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
   should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
   residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
   case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
              2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
   right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
   creditors.
              3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found
   to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
   and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
              4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
   may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
   and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
   which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
   vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
   breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
   not discharged.
       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
    their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
    amounts set forth in the Bankruptcy Code.
              2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
    them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
    depending upon your income and other factors. The court must approve your plan before it can take effect.
              3. After completing the payments under your plan, your debts are generally discharged except for domestic support
    obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
    properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
    secured obligations.
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    Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
    Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

                                                             Certificate of Attorney

               I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

Marc W. McDonald, Esq.                                                          /s/ Marc W. McDonald        4/20/2007
Printed Name of Attorney                                                        Signature of Attorney                     Date

Address:
Ford, Weaver & McDonald, P.A.
10 Pleasant St.
Suite 400
Portsmouth, NH 03801

(603) 433-2002

                                                           Certificate of the Debtor
    I , the debtor, affirm that I have received and read this notice.
Kurt Sanborn                                                            X s/ Kurt Sanborn                   4/20/2007
Printed Name of Debtor                                                    Kurt Sanborn
                                                                         Signature of Debtor                     Date
Case No. (if known)
    Case: 07-10815-MWV Doc #: 6 Filed: 04/20/07 Desc: Main Document                                      Page 39 of 39

                                      UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW HAMPSHIRE


     In re:                                                                    BK. No.:
     Kurt Sanborn                                                              Chapter    7




                                    VERIFICATION OF CREDITOR MATRIX

         The above named debtor(s), or debtor’s attorney, if applicable, do hereby certify under penalty of perjury that

     the attached Master Mailing list of creditors, consisting of 1 pages is complete, correct and consistent with the

     debtor’s schedules pursuant to Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




DATED: 4/20/2007                                  Signed: /s/ Marc W. McDonald
                                                          Marc W. McDonald, Esq.
                                                            Attorney for Debtor(s)
                                                            Bar no.:              BNH01314
                                                            Ford, Weaver & McDonald, P.A.
                                                            10 Pleasant St.
                                                            Suite 400
                                                            Portsmouth, NH 03801
                                                            Telephone No.:     (603) 433-2002
                                                            Fax No.:       (603) 433-2122
                                                            E-mail address:

DATED: 4/20/2007                                  Signed: s/ Kurt Sanborn
                                                          Kurt Sanborn
                                                          (Debtor)
